                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

 KIMBERLY K. BULL,                             )
                                               )
                Plaintiff,                     )
                                               )
 v.                                            )       No.: 1:08-CV-289
                                               )
 GROUP LONG TERM DISABILITY                    )
 PLAN FOR TFE, INC.,                           )
                                               )       COLLIER/CARTER
 TFE, INC.,                                    )
                                               )
 and                                           )
                                               )
 UNUM LIFE INSURANCE COMPANY                   )
 OF AMERICA,                                   )
                                               )
                Defendants.                    )



                             JOINT STIPULATION OF DISMISSAL


        Plaintiff Kimberly Bull and Defendants Group Long Term Disability Plan for TFE, Inc.,

 TFE, Inc., and Unum Life Insurance Company of America (collectively the “Parties”) announce

 to the Court that all claims pending in this action as to all parties have been compromised and

 settled without admission of liability pursuant to a confidential Settlement Agreement and

 Release executed among the Parties.

        Accordingly, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

 Parties stipulate that Plaintiff dismisses the above-captioned case with full prejudice and each

 party shall bear its own costs, expenses, attorney fees or other fees.

        Respectfully submitted this 15th day of June, 2009.




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 STIPULATED AND AGREED TO BY:

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 15, 2009, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
 system to all parties indicated on the electronic filing receipt. All other parties will be served by
 regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.

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